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                    IN THE UNITED ST~~=s. DISTRICT COURTRECE""';'f"I~.-1 ', ...              ;9.·

                                THE THIRD CIRCUIT                                    " JiL.iiJ


                                                                     OCT 16 2017
UNITED STATES OF AMERICA
                                        *                              Chambers of
                                                                Anne E. Thompson, U.S.D.J.

v.
                                        *          Civil No.: 17-2641
                                                   Criminal No.: 3:12-cv-204-01

C. TATE GEORGE
                                                             RECEIVED
                   Petitioner           *
                                                                 OCT 2 6 201'7
                                    *   *      *              AT 8:30            .
                                                                  WILLIAM T. WALSH
                                                                                      M

         PETITIONER'S SECOND REQUEST FOR LEAVE TO AME~RV
        MOTION TO VACATE, SET ASIDE OR CORRECT CONVICTION
 AND SENTENCE PURSUANT TO 28 U.S.S. SECTION 2255 WITH AFFIDAVIT


              NOW COMES   the   Petitioner    c.    Tate George, pro se, and

requests this Honorable Court for leave to amend his pending motion

pursuant to 28      u.s.c.   Section 2255, and states as follows:

I. Ineffective Assistance of Counsel

             Trial attorney David Shafer's performance was deficient

because he failed to perform ANY pre-trial review and investigation

of the decipherable pre-trial discovery information supplied by the

government which included the "signed" release form that government

witness Ramsey falsely testified to at trial was not signed by him!

Consequently, this egregious deficient performance was objectively

unreasonable making it impossible for him to impeach any government

witness     in~luding   Mr. Ramsey! As a result, Petitioner's constitutional

right to the "effective" assistance of counsel under the Sixth Amend-

ment was violated and he was deprived of a fair trial. Period.

                                        -1-
- ..._.   Case 3:17-cv-02641-AET Document 25 Filed 11/20/17 Page 2 of 16 PageID: 503
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   ..                                                                                                               Page2
                     MOTION UNDEB !8 U.S..C. I llU TO VACATE, SET ASIDE, OR COBRBCT
                                  SENTENCE BY A PERSON IN PEDEB.AL CUSTODY




                                                                                      Prisoner No.:~~ Z   z }-(}$"O
            UNITED STATES OF AMERICA                                         Movant ~name under which you were comicted)

                                                             v.                        t.     ~£ deol-&6
                                                            MOTION

          I. (a) Name and location of court that entered the judgment of conviction you are challenging:
                    CfML/lf6N S ~ h5,4!,lt. /1uiltl1iit I tf. f. CllMf A.av.st 'fOZ-
                        E ~i S-htH-t, 5-k££1 7/U# fvAJ / IV· 'f. 61//,t> 3

                (b) Criminal docket or ·C$88 number Of you know):       /   t - // 7 ()
          2. · (a) Date of the judgment of conviction (if you know):        5~ f.utt bell         $6 I ~ ( 3

               . <b>Dateof-.teacinir-     j_.wp..<4Lf 101 .Ul'f                                       R E C E I \! E 0
          3. Length of sentence:          f
                                        y-lQ/IJ.                                                         J 2
          4.    Natureofcrilne(allCOUDts): 'f bfUAZ-I$ " '                  w1U fi~il                           UL 0 2017
                                                                                                          AT 8:30                   M
                                                                                                             WILLIAM T. WALSH
                                                                                                                    CLERK       .




          5.. (a) What was your plea? (Check one)
                   (I)   Not guilty   a             (2)   Guilt)'   a           (3)    Nolo mntendere (no mntest) Q
               (b) If you. entered a guilty plea t.o one count or indictment, and a not guilty plea t.o another count
               or indictment, what did you plead guilty to and what did you plead not guilty t.o?




          6. If you went to trial, what kind of trial did you have? (Check one)                            Judgeonly   a
              Case 3:17-cv-02641-AET
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                                                                                                      No     a
                                                                                                      No 0




                     11-Yes," answer the following:
                      (1) Docket or '*'e number (if you know):
                      (2) Result:


                     ·(3) Date of result (if you know):
                      (4) Citation t.o the case (if you know):
                      (5) Grounds raised:     .




              16. Other than the direct appeals listed above, haVe you previously filed any other motions,
                 petitions, or app~ons co~ this judgment of conViction in any court?
                     Yes [J    No   if             ·
              11. If yom answer to Question 10 was "Yes,• give the following information:
                 (a) (1) Name of court:
                     (2) Docket or case number (if you bow):
                     (3) Date of filing (if you know):
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       (4)   Nature of the proeeeding:
       (5) Grounds raised:




       (6) Did you receive a hearing where evidence was given on your motion, petition, or

       application?       Yes CJ No ~                                                   •. , , ~ , ·· ·       .
                                                                                                              , .   •
       (7) Result:
       (8) Date of result (Jf you know):
   (b) If you filed any second motion, petition, oi' application, give the same infOi'Dlation:
      (I) Name of court:
      (2) Docket or case number (if you know)•
       (3) Date of filing (if you know):
      (4) Nature of the pmceecting:
      (5) GioQnds raised:




      (6) Did y.ou receive a hearing where evidence was given on your motion, petition, or
      application?       Yes CJ .No '
      (7) Result:
      (8) Date Of result (if you know):
  (c) Did you appeal to a federal .appellate court having jurisdiction over the action taken on yoUl'
  motion, petition, or application?

      (1)    First petition:   y. '        No   aI
      (2) Second petition:      Yes. Q     No   r/ ·
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      (d) If you did not appeal from the action on any motion, petition, or application, explain briefly
      why you did not:




   12. For this motion, state every ground on which you claim that you are being held in rioJation of the
      CA>nstitution, Jaws, or treaties of the United Stat.es. Attach additional pages it you have more
      than four grounds. State the flG.tl supporting each ground. ·

  GJiOUNDONE:          -.fµ~~,4dwt.              Msf. of'       (}/11.M~/p<.e--~11/ by Nol IJµ/.Ui"/ ·
   .~    !#lfQ.flC    ~ft;,/ ef II// f-'/4i.fld1J d~f?ANWr ~Jee/.
  •<•) Sjipp~ fat* (Do not argue or cite law.        Just state the specific facts that support your claim.):
     i>eFeN1tf       ~%/ rr~~ ,u.f /IL.r«Jc ~ 6/l/!N!/l ,,,_ 14t«cA -v~d.ed ~xt:-
    MA14s          .At«
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-MeM. w-1.s ~ ~p/~~ dv,-~ ~ AC'tJ /HP?l'hlf ~ ~T
oufrtPt; uf! NdL/h.I IJPJ1P-e>.5 rucficq , ,..?(;,.,, "'~s I &.t ~r ,A /Zy«-T
pt,h,Jil ,,/eT'<RJe ~ ~~ /<~                               UJl'YAws-.Jt:'".J   ~ ~;,/ fo.L4/ EPrh;,,/
  (b)DireetAppealofGn»aadOae:                ·    ~~o/~./ f.J/lt>_J.u/s.
      (1) If you appealed from di~udgment of ~on, did you raise this issue?.
                  ~a~m                                                                                                    f
      (2) If ,.,a did not l'Bise dda issue in your clirect appeal, explain why;   J   wJs        I. t I b'I   flt,t &wi
        ~tfl1'lcl NO f. /Hlf~E fbt:.. :Mtt:-.ffev~f/t Ass1l/#AU£ ~f bJUNS<e.-1                                     dA/
        dittt,c,/ 11'-/fX'LR.                               .                                                        .

      (1) Did you :raise this issue in any poat-conviction motion, petition, ·Ol' application?
                  Yes Cl No    ·if"
      (2) If your answer to Question "(c)(l) is "Yes," state:
      Type of motion or petition:
      Name and location of the court when the JllOtion or petition -~ filed:
Case
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  Docket or ease number (if you know):
  Date of the court's ·decision:
  Result (att.ach a copy of the court's opinion or order, if available):




   (3) Did you :receive a hearing on your motion, petition, or app)ic:ation?
       Yes 0     Now{                                       .
  (4) Did you   appeal,,.     the denial of your motion, petition, or application?
       Yes Cl    No fir        .
   (5) If your answer /to Question (c)(4)
                                        · is· "Yes' • did ,,
                                                          ~        . .-....:_
                                                             __ l'8J88         .
                                                                       1o11111 usue . the appeal?
                                                                                    m
       Yes 0     No 121
  (6) If your anawer to Question (c)(4) is -Ves,• state:
  Name and location of the court when the appeal was filed:


  Docket or case number (if you know):
  Date of the court's decision:
  Result (attach a copy of the court's opinion or order, if available):
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                                                                                                 Page-7




(b) Direct Appeal of Groaad Two:
    (1) If you appealed from the judgment of conviction, did you raise this issue?

        Yes   a   Nor/                                                                                    o;cld/-.,,
    (2) If you did not raise this issue in·your direct   -app~ explain why: U/11#J/l fo /flJ--ffA G
       Afj)ld A Mra                  k       f#.e,rr.ultv£              A~sl. "f'·cgi,ut..sd.

 (c) P~Conviction ·ProeeediDp:
    (1) Did you raise tbjs· issue in any _JM>llt-conviction moti.9n, petition, or application?
        Yes 0     No   rJ
    (2) If yow answer to Question (c)(l) is "Yes," state:
    Ty.pe ef motion ·or petition:
    Name and location of the court where t.he motion o:r petition was filed:


   Docket or case number (if you know):
   Date of the court's decision:
   Result (attach a copy of the court's opinion or ord~, if available):




   (3) Did you receive a hearing on your.motion, petition, or application? ..
       Yes Cl     No/
   (4) Did you appeal &om the denial of y0ur motion, petition, or application?
       Yes Q      .Nori'
   (5) If your answer f?_ Question (c)(4) ~ "Yes," did you rajse this issue in the appeal?
       Yes Q      No   rJ                                 ·      ·      .
   (6) If your answer t.o Question (c)(4) is -Yes, state:
                                                   0




   Name and location of the court where the appeal was filed:


   Docket or case number (if yau know):
   Date of the courfs decision:
   Result (attach a copy of the court's opinion or order, if available):
.
'   Case
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       (7) If yov answer to Question (c)(4) or Question (c)(5) is ~No,• explain why you did not appeal ot

       raise   this--=    /,)Al A1J/t   /z> llttfae        IN   e. fl'e,~/,"uf.   ~S!,   e1   f   c t:rJ,Ut ~~
                       01ll   diuv/ Af)~




    (c) Post-eoaYiedoa Pnceefyp:
      (1) Did you raise this issue in any post.conviction motion, petition, or application?
          ~a~~.                                                                          .
      (2) If your ailswer to Question, (c)(1) is -Yes: state:
     .. Type of motion OJ' petition:
      Name and location Of the comt where the motion or petition was filed:


      Docket or case numbei' Gf you know):
      Date of the court's decision:
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   I{     /11'.    /        I/               ,            ,~                                        , L./ .           .
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                       Result (attach a copy of the court's opinion or order, if available):




                       (3) Did you receive a hearing on yow motion, petition, or application?
                           Yes Cl    No   a{
                                                             ff ~·n,
       ••
                                                                                                                           .,
                       (4) Did 1"ll appeal from the denial                             or application?
                           Yes   a   No '                           ~~.:., \i
                       (5) If your answer to Question (c)(4) is -Yes,,. did you raise .this issue in the appeal?
                           Yes   a   No   r,/     .
                       (6)1fyour answer to Question (c)(4)is "Yee," state:
                       Name an~. locati~n of the court where the appeal was filed:


                       Docket or case n111Dher (if you know):
                       ~·- of the comes decision:
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            (b) Dbect Appeal -of Ground Four:
               (1) If you appealed from the judgment of conviction, did you raise this issue?

                   Yes   a No~                                                                    II    - i..   A.#AU6'
               (2) If you did not raise this issue in your direct~appeal, explain why:    {)µ A'DI £. TU '' •7            '   ..
                    :;!Nel*v/-lulf..             .M>f ~.     ,f ~fd /JM                  d1/Uff .d/;:;-ed-
 ~··




            (c) Posi-ConWction Pnceediaga:
               (l) Did you raise ·this issue in any post-conviction motion, petition, or application?
                   Yes   a   No   Q

               (2) If your answer t.o Question (c)(l) is "'Yes," state:
               Type of motion or petition:
               Name and location of the coUl't where the motion or petition was filed:


               Docket or case number (if you kiloW):
               Date of the court's decision:
               Result (attach a copy of die courfs opinion or order, if available):



..
~
       :
               (3) Did you receive • hearing on your motion, petition, or application?
                  Yes    a   No   'iif'
                                                                                                                              ..
              (4) Did you appeal from the denial of your motion, pet;ition, or application?
                  Yes    a No~                                  \
              (5) If your answer t.o~n (c)(4) is 8Yea,• did you raise this issue in the appeal?
                  Yes IJ     No   rz{        ·
              (6) If your -answer to Question (c)(4) is -Yes,"' state:
              Name and location of the court where the appeal was filed:




              Docket or case number (ii you know):
              Date of the court's decision:
              Result (attach a copy of the courfs opinion or order, if available):
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           (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal OJ'

           raisethisissue:      ~,vol- _MfU.IY                       t>AJ   d//itvf Af?/Xd



        13. Is there any ground in this motion that you have IW previously presented in some federal court?
           If so, which ground or grounds have not been presented, and state your reasons for not
           presentingthem:      A.avt JJof ~ttlF/J /b£- /NeF~e:-~~l ,+ss-/, of
                                 f
               ~pe/ ,,q Teri~ ~1. ;n. /,</AS .~Id                  pr~ ~'/                           »
               -#ti- cl1if7u°c-f t::J¥nVJ/ ~_I ~ A./df lf/Lt'IA_(i;
                '7lll '-fie f/l~.5 "~ dt~v-/ ~~d?


        14. Do you have any motion, petition, OJ' appeal pow nnpdjng (filed and not decided yet) in any court
           for the judgment you are challenging?          Yes   r:4' No a
           H "Yes," state the name and location of the -court, the docket or case number, the type of
           prooeeding, and the issues raised. b)e ~/If.! /ic/ ~ 31L{) CtUM~I                             ePut f   1/.-/
                A- f!,tl/t·/    /H4,f'l,£   I    doc/Q -I       p~f.e,£ I~- l/-2.~f,
....                                                                                                              •



        15. Give the name and address~ if known, of each attomey who represented you in the following
           stages of the judgment you are challenging:
           (a) At preliminary bearing:


           (b) At BJ'raipment and plea:         l}AtliD     Sft A f4_
           <c> At trial:   V-w1 o 511 ..+ f-<:.tL
           (d) At sentencing:    f11.tJ ~t       {lllPS f    #f     fUe-    ~ .tf ~lr f"' ;µf)
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               (e) On appeal:


               (.t) In any post-conviction p:roceeding:


               (g) On appeal bom any l'1lling against JOU in a post-mnvietion prcx:eeding:




            16. Were you sentenced on more than one·count of an indictment, or on more than one indictm8J:1t, in
               the same CO\U't and at the same time?            Yes   a No   QI/
            17. Do you have any future sentence to serve after y0u complete the sentence for the judgment that
               you are challenging?         Yes 0 No      I("
               (a) If so, give name and location of co11J"t ·that ·imposed the other sentence you will &el'Ve in the
               future:


               (b) Give the date the other sentence was imposed:
               (c) Give the length of the other sentence:
               (d) Have yeu filed, or do you plan t.o :file, '&DY motion, petition, or application that challenges the
               judgment or sentence t.o be served in the futme?         Yes   a    No   ~




--------------------'-"'-~-- ------------········
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        18. TIMELINESS OF MOTION: If your judgment al conviction became final over one year' ago, you
           must explain why theone-yeaJ' statute oflimitatians as cantained in ·23 U.S.C. § 2255 does not
           bar your motion.*




        * The-Antitanorism and Efrective-Death-Penalty_Act of 1996_rAEDPA1' as contained in 28 U.S.C.
        § 2255. paragraph 6. provides in pari that:
            A ·ODe-)'eal' period of limitation shall apply .to a motion under this section. The Jimit$tion period
            shall run &om the latest of -
                (1) the date on which the judgment of conviction became fiDa1;
                (2) the date on which the impediment to making a motion created by gavemmental action in
                violation of the Constitution or laws of the United States ie removed. if the m~ant was
                prevented from making such a motion by such guvemmental action;
                (3) the ·date on which the right auerted was initially reoopua:ed by the Supreme Court, if
                that right-has-bee1n1ew)y-ncognized by the Supreme <'Amt and )Jl81fe-retloactively
                applicable t.o cues cm collateral review; or
                (4) the date on which the facts supporting the claim or claim8 presented could have been
                discovered through _the ex'1'Cise of due diligence.
. .
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       Therefore. movant ab thai the Court grant the following relief          /Ito/to ~ -1' t.I~1
        5~/- J/StiJc tJ/l- etJ/L/JL,~ 7' &rJtVl'C, fr;,~.·~ f~ ~c·r7 ;:JWI Ju~7
             ..fD t?i' a.1.~. >ec-.:h;,A./ ,-:;.2~,5--
       or any other ielief to which movant may be entidecl.




       I declare (or ceriify, verify, or state) under penalty of perjury that the fcn-egoing is true aa.d mrrect
       and that this Motion under 28 U.S.C. § 2255 was placed in tile prison mailing SJBt.em on
                        (month. dat.e. year).
~   •   •
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             I dedale(or'cmifJ~ verify~ ·or S-.) under penalty of·peajury tbat I bave been .notified that 1-mustiadude in dUs
             motion all die gn>UDds fbr ft!tief' fiom the COJl'fidion or setdaw e that I chaUenge, and 1bat I must state the fac.u
             that support eachgn>und. I also undelstand.dlat if I f4i1 to set.fodb aD the llOUDds in tbis motion, I may be
             baned fiom preca•i•11 additioml gmuads at a la& cla1e.



                                                                  -~~I?
             Executed (signed) on          ~~--.._--~----~(dale)



             Siplme ofMcmmt
